
45 So.3d 542 (2010)
Anthony BROOKS, Petitioner,
v.
STATE of Florida, Respondent.
No. 5D10-2598.
District Court of Appeal of Florida, Fifth District.
October 8, 2010.
Anthony Brooks, Crawfordville, pro se.
Bill McCollum, Attorney General, Tallahassee and Wesley Heidt, Assistant Attorney General, Daytona Beach, for Respondent.
PER CURIAM.
The petition for belated appeal is granted. A copy of this opinion shall be filed with the trial court and be treated as the notice of appeal from the judgment and sentence in case numbers 2004-CF-003113, 2004-CF-003114 and 2004-CF-003116, in the Circuit Court in and for Lake County, Florida. See Fla. R.App. P. 9.141(c)(5)(D).
PETITION GRANTED.
GRIFFIN, LAWSON and COHEN, JJ., concur.
